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IN THE UNITED STATES DISTRICT COURT ` ‘

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wEsTERN DIvIsIoN

 

 

ROBERT B . MITCHELL , JR . ,

M.A.RGARET P . MI TCHELL , and

ROBERT B . MITCHELL , I I I
Plaintiffs,

v. No. 03-2037 Ma/An

GOLDEN FEATHER REALTY

SERVICES, INC., and THE

CHASE MANHATTAN BANK
Defendants.

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ORDER GR.ANTING CHASE M.ANHATTAN MORTGAGE COMPANY' S MOTION FOR
SUMMAR'Y JU'DGMENT

 

This case is an action for negligence and conversion under
state law arising from foreclosure activities taken on Plaintiffs’
property. Before the court is the motion for summary judgment of
Chase Manhattan Mortgage Company (“Chase,” incorrectly identified
as The Chase Manhattan Bank), filed January 14, 2005. Defendant
Golden Feather Realty Services, Inc. (“Golden Feather") responded
to that motion on January 31, 2005. Plaintiffs Robert B. Mitchell,
Jr., Margaret P. Mitchell, and Robert B. Mitchell, III (“the
Mitchells”) responded on the same day, adopting the arguments set
forth in Golden Feather's memorandum. For the following reasons,
the court GRANTS Chase’s motion for summary judgment.

I. Background

The following facts are undisputed unless otherwise noted.

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Plaintiffs Robert B. Mitchell, III, and Margaret P. Mitchell live
at 4087 Silverleaf Road, Memphis, Tennessee. Silverleaf Road
intersects with another street named Silverleaf Cove. (Chase
Statement of Undisputed Material Facts q l; hereinafter “Chase
Statement.”) Chase serviced the mortgage on the property located
at 4087 Silverleaf Cove. (Golden Feather Statement of Undisputed
Material Facts l 1; hereinafter “Golden Feather Statement.”) On
December 3, 1999, Chase foreclosed on that property and, because
the mortgage had been obtained under a guaranty program of the
Department of Housing and Urban Development (“HUD”), conveyed title
to HUD. (Chase Statement I 8.)

Upon. approval of its loan. application 'under the guaranty
program, Chase had received a Mortgage Insurance Certificate
(“MIC”) generated. by' HUD. In. the event of a default by the
borrower, the holder of a HUD-guaranteed loan must present the MIC
to receive the benefits of the HUD guaranty program. (Chase
Statement I 20.) Although other loan documents, including Chase's
application, identify the property as “4087 Silverleaf Cove,” the
MIC refers to the property' only as “4087 Silverleaf.” (Chase
Statement q 21; Golden Feather Statement I 3.) After the property
had been transferred to HUD, a HUD employee prepared a checklist
which indicated that the “MIC [was] checked for proper address.”
(Golden Feather Statement I 3.)

Based on the terms of a contract between HUD and Golden

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Feather, Golden Feather provides real estate management and
marketing services to HUD. Specifically, Golden Feather markets
properties that have been foreclosed by lenders, like Chase, who
participate in lending programs involving HUD guaranteed loans.
(Chase Statement 1 4,6). After lenders or loan servicers, such as
Chase, have input property foreclosures into HUD’s computer system,
it is the practice of Golden Feather to download a list of
foreclosed. property' addresses fronl HUD's computer systenl and,
within an hour, assign the property to an inspector. (Id. q 6-7.)
On or about December 9, 1999, Golden Feather's inspector
mistakenly visited the property at 4087 Silverleaf Road, owned by
Robert B. Mitchell, III, and Margaret P. Mitchell, and arranged for
the locks to be changed and the personal property in the house to
be removed. (Chase Statement “ 13.) Although much of the
documentation surrounding this transaction has been lost or
destroyed,1 Golden Feather contends that it relied on the
incomplete address contained in the MIC and that Chase negligently
failed to disclose to HUD that this address was incomplete.

II. Jurisdiotion and Applicable Law

The Mitchells are residents of Shelby' County, Tennessee.

 

lThis information includes l) a “Z-Track" form downloaded and printed
in Golden Feather's Chicago office from HUD's computer system, 2) a faxed copy
of a portion of the Z-Track report received by Golden Feather's Memphis office
from Golden Feather's Chicago office, 3) a pre~carbonized three-part
inspection form where the property address was transferred from the Z-Track to
the three~part form, and 4) the Golden Feather inspector's note, on which he
wrote down the property address information he had received by telephone from
the Golden Feather Memphis office. (Chase Statement “ 16.)

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Golden Feather is a Texas corporation with its principal place of
business in San Antonio, Texas. Chase is a multi~state corporation
with its principal place of business in New York, New York. The
amount in controversy exceeds $75,000. Thus, the court exercises
diversity jurisdiction under 28 U.S.C. §§ 1332 and 1441.

The injury to the Plaintiffs occurred in Tennessee, and all
parties have based their arguments on Tennessee law. Therefore,
the court will apply Tennessee law to decide the instant motion.
§e§ Massachusetts Bav Ins. Co. v. Vic Koeniq Leasing, Inc., 136
F.3d 1116, 1120 (7th Cir. 1998)(“a federal court should apply the
law of the forum state where the parties have not identified a

conflict between two bodies of state law which might apply to their

case”).
III. Legal Standard

Under Federal Rule of Civil Procedure 56(c), summary judgment
is proper “if . . . there is no genuine issue as to any material
fact and . . . the moving party is entitled to judgment as a matter
of law.” Fed. R. Civ. P. 56(c); see also Celotex Corp. v. Catrett,
477 U.S. 317, 322 (1986). The movant must meet its initial burden
of “demonstrat[ing] the absence of a genuine issue of material

fact,” Celotex, 477 U.S. at 323.

In considering a motion for summary judgment, “the evidence as
well as all inferences drawn therefrom must be read in a light most
favorable to the party opposing the motion.” Kochins v.

Linden-Alimakl Inc., 799 F.2d 1128, 1133 (Gth Cir. 1986); see also

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Matsushita Elec. Indus. Co. v. Zenith Radio Corp., 475 U.S. 574,
587 (1986). “[S]ummary judgment will not lie if the dispute is
about a material fact that is ‘genuine,' that is, if the evidence

is such that a reasonable jury could return a verdict for the non-

moving party.” Anderson v. Liberty Lobbyl Inc., 477 U.S. 242, 248
(1986) .

IV. Analysis
A. Robert B. Mitchell, Jr.

As a preliminary matter, Chase argues, and the plaintiffs
concede, that Plaintiff Robert B. Mitchell, Jr. did not own any of
the property involved in this litigation and that he suffered no
damage from the Defendants' actions. Accordingly, the court GRANTS

the motion for summary judgment against him.
B. Conversion

Conversion is “the appropriation of property to the party's
own use and benefit, by the exercise of dominion over it, in
defiance of plaintiff's right.” Brandt v. Bib Enterprisesl Ltd.,
986 S.W.2d 586, 595 (Tenn. Ct. App. 1998)(citing Mammoth Cave Prod.
Credit. Ass'n v. Oldham, 569 S.W.2d 833, 836 (Tenn. Ct. App. 1977).
It is undisputed that Chase did not actively participate in any of
the actions on December 9, 1999. It is also undisputed that on
December 9, Chase did not have any use or benefit in, or exercise
dominion over, the property at 4087 Silverleaf Road. Therefore,
the Plaintiffs cannot claim that Chase appropriated their property,

and the court GRANTS Chase's motion for summary judgment on the

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conversion claim.
C. Negligence~

A plaintiff must prove five elements to establish negligence:
1) a duty of care owed by the defendant to the plaintiff, 2) breach
of that duty, 3) injury or loss, 4) causation in fact, and 5)
proximate, or legal, cause. McClenahan v. Coolev, 806 S.W.2d 767,

774 (Tenn. 1991).

Chase argues that it owed no duty to the Plaintiffs because it
was under contract only with HUD. A privity-of-contract analysis
is misplaced, however, because the Plaintiffs do not allege that
their damages arise from Chase’s breach of any contractual duties
to HUD. Seel e.g.l Collins v. Binkley, 750 S.W.2d 737, 739 (Tenn.
1988)(finding that intended third-party beneficiaries can sue
attorneys for malpractice). Rather, the Plaintiffs and Golden
Feather argue that, contractual obligations notwithstanding, Chase
was required to disclose accurate information to HUD that would

prevent the mistaken foreclosure of the Plaintiffs' home.

Other than conduct by Golden. Feather, however, only the
incomplete address on the MIC could reasonably be characterized as
a cause-in-fact of the Plaintiffs’ injuries. Chase did not create
the MIC; HUD did. Because Chase did not create the risk of harm
posed by the erroneous MIC, Plaintiff's negligence claim must be
analyzed under decisions finding a duty to warn third parties of

risks created by others.

As a general rule, one person owes no affirmative duty to warn

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those put at risk by the conduct of another. Bradshaw v. Daniel,

 

854 S.W.Zd 865, 870 (Tenn. 1993). “Accordingly, while an actor is
always bound to prevent his acts from creating an unreasonable risk
to others, he is under the affirmative duty to act to prevent
another from sustaining harm only when certain socially recognized
relations exist which constitute the basis for such legal duty.”
ld$ at 871; see also Turner v. Jordan, 957 S.W.2d 815, 817 (Tenn.
1997)(noting an exception where there is a “special relationship”
between the defendant and either the source of the danger or the
person at risk from the danger). Tennessee courts have recognized
such a relationship between doctors and patients and between land
or business owners and invitees. See, e.g.c Bradshaw, 854 S.W.Zd at
872; Turner, 957 S.W.Zd at 819; McClumq v. Delta Souare Ltd.
Partnership, 937 S.W.Zd 891, 901-02 (Tenn. 1996)(business owner
owes duty to take reasonable measures to protect customers from
criminal activity). The Plaintiffs do not allege, nor does the
evidence suggest, the existence of a special relationship between
Chase and HUD or between Chase and the Plaintiffs. The situations
in which Tennessee courts have recognized an exception to the
general rule against affirmative tort duties are few, and the
relationship between the parties in the instant case does not

resemble them.

Chase did not cause any injury to Plaintiffs in fact and had
no affirmative duty to warn of any risk. Therefore, the court
GRANTS Chase's motion for summary judgment on the Plaintiffs’

negligence claim.

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V. Conclusion

For the foregoing reasons, Chase's motion for summary judgment

is GRANTED.

so 0RDERED this 3°"'\ day of August 2005.

SAMUEL H. MAYS, JR.
UNITED STATES DISTRICT JUDGE

 

uNTED sTAETS DISTRICT COURT - WESTERN DTISICT oF TENNESSEE

   

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This notice confirms a copy of the document docketed as number 38 in
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